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                                                                                            September 26, 2024

                                                                                      U.S. DISTRICT COURT
                                                                                 EASTERN DISTRICT OF NEW YORK
  UNITED STATES DISTRICT COURT                                                        LONG ISLAND OFFICE
  EASTERN DISTRICT OF NEW YORK
  ---------------------------------------------------------------X
  Gina Barbara, Individually and on
  Behalf of All Others Similarly Situated,


                                     Plaintiff,                                   RULE 26(1) §!:;If
                                                                     SCHEDULING ORDER         ~
                                                                     2:24-cv-03775 (NJC)(JMW)
                   -against-




  lvyrehab Peak Performance, LLC,

                                     Defendant.
  ---------------------------------------------------------------X

      I.       DISCOVERY PLAN

  Pursuant to Rule 26(f)(3), the parties have conferred and jointly propose the following
  Discovery Plan:

     A. The Parties [lltdo not] anticipate the need for any changes to the timing, form, or
  requirement for disclosures under Fed. R. Civ. P. 26(a).

    B. The Parties anticipate that discovery may be needed on at least the following
 subjects: [list subject(s) below]
   Claims and defenses related to Plaintiff's request for a reasonable accommodation;
 Defendant's policy and procedures; existing architectural barriers; and alterations made.
    C. Discovery Limitations. The Parties have conferred and (do/do not] believe that any
 changes should be made to the limitations on discovery imposed under the Federal Rules of Civil
 Procedure or the Local Civil and Local Rules of the Southern and Eastern Districts of
 New York.


      D. For cases where basis of subj ect matter jurisdiction is diversity:
            a. Is any party an LLC or partnership? YES/NO. If yes, list all members of the
                LLC or partnership and their respective states of citizenship:
            b. Citizenship of each plaintiff:
            c. Citizenship of each defendant:
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      E. ESI Discovery

  Have counsel discussed the existence of electronically stored information and discussed the
  location and production of such information, as required by Rule 26? YES~ NO_
  Have the parties entered into an ESI protocol stipulation? YES_NO~
  Alternatively, if no ESI protocol is necessary because of the limited amount of ESI in the case,
  please check here: _ __
  If needed, the parties are referred to the court's website for an ESI protocol template.
  https://www. nyed. uscourts. gov/content/magistrate-iudge-iames-m-wicks


  F         Confidentiality
  Do the parties anticipate the need for a confidentiality stipulation and order?
  YES- NO-X

  If needed, the parties are referred to the court's website for a Confidentiality Stipulation and
  Order template. https :/lwww. nyed. uscourts. govlcontent/magistrate-iudge-iames-m-wicks.


  MAGISTRATE CONSENT
  Pursuant to 28 U.S.C § 636(c), the parties have the right consent to have all proceedings,
  including trial, before a Magistrate Judge at any time. ff the parties so consent, then the parties
  must file a Consent to Magistrate Judge form available on the Court's website,
  https://img. nyed. uscourts. govlfiles/forms/ClerksNoticeofRule 73.pdf).



      II.      The parties' agreed-upon proposal for when discovery should be completed is set
               forth in Section II below.


  10/10/2024             Exchange of Rule 26(a)(l) disclosures

  11/08/2024              Service of first interrogatories and document demands

  12/09/2024             Responses to first interrogatories and document demands

  12/27/2024             Motions to join new parties or amend the pleadings
  1/03/2025              Meet and confer regarding 30(b)(6) depositions [CORPORATE DEPS]

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             io~~                                                             .
               :         Status conference to be held via Zoom. The Court will email a Zoom
 &,--- o/ ~ ~            ~ s e r to the conference date. [DATE TO BE FILLED IN B~

  3/07/2025              Completion of all fact discovery
  4/07/2025              Identification of case-in-chief experts and service of Rule 26 disclosures
  5/07/2025              Identification of rebuttal experts and service of Rule 26 disclosures
  6/06/2025              Close of all discovery, including expert discovery

 6f°(io~                 Final date by which parties shall take the first step of summary judgment
                         motion practice. Depending on the assigned district judge, the first action
                         commencing the practice would be either requesting a pre-motion
                         conference or initiating the exchange of Local Civil Rule 56.1 statements.
                         Parties are required to consult the individual rules of the district judge
                         regarding motion practice. [MIE TO BE FILLED IN BY COURT]
                                                                                                 ~



                         Pretrial conference. These conferences shall be held via Zoom unless the
                         case is assigned to the undersigned for all purposes including trial. If the
                         assigned district judge requires ·one, a joint proposed pretrial order in
                         compliance with that judge's requirements and signed by counsel for each
                         party must be received by the undersigned 5 business days prior to this
                         conference. If a motion for summary judgment, or for a pre-motion
                         conference as to the same, is filed then the Pretrial Conference is adjourned
                         sine die and the requirement, if any, to file a joint proposed pretrial order is
                         held in abeyance until further order of the court. ~ TO BE FILLE~
                         ~]

         Pursuant to Rule 16, this scheduling order will be modified by the Court only upon a timely
  showing of good cause. See Parker v. Columbia Pictures Indus., 204 F.3d 326,340 (2d Cir. 2000);
  see generally Jeremiah J. McCarthy, Rule l 6(b)(4): Is "Good Cause" a Good Thing? Why I Hate
  Scheduling Orders, 16 Fed. Cts. L. Rev. 1 (2024) (discussing standards applied in determining
  "good cause" under Rule 16). Any request for modification of this scheduling order must be in
  writing, set forth the requisite good cause and filed in accordance with the undersigned' s Individual
  Rules. The parties are reminded that any requests to alter or extend a scheduling order after the
  deadlines have passed will need to establish good cause and in addition, excusable neglect, in
  accordance with Fed. R. Civ. P. 6(b)(l)(B).

         Motions to resolve discovery disputes must be made by letter in accordance with Local
  Civil Rules 37.1 & 37.3 and in compliance with additional requirements set forth in the




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Case
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  undersigned's Individual Rules, except deposition rulings which the Court encourages be sought
  during the deposition. Motions that do not comply with all requirements wi ll be rejected.



  COUNSEL:
  For Plaintiff(s)James E. Bahamonde

  For Defendant(s)     Jennifer E. Sherven




  Dated:



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                                    Isl: James M. Wicks
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